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                                                                 U. S DSTj-
                                                                              COURT
                                                                               cf Ga.
                IN THE UNITED STATES DISTRICT COURT FOR              FHd
                   THE SOU'THERN DISTRICT OF GEORGIA
                           WAYCROSS DIVISION

UNITED STATES OF AMERICA

V.
                                          CASE NO. CR597-003
JAMES CONAWAY, a/k/a Little
James,

       Defendant.


                                 ORDER

       Before the Court is Defendant Conaway's Request for

Certificate of Appealability.         (Doc. 1927.)    However, Defendant

is not appealing a decision in a habeas proceeding. Therefore,

no certificate of appealability is required before the Eleventh

Circuit Court of Appeals may hear Defendant's case.                 See 28

U.S.C. § 2253 (requiring certificate of appealability for

appeals of final judgments in habeas proceedings) . Accordingly,

Defendant's Request for a Certificate of Appealability is

DISMISSED AS MOOT.

       SO ORDERED this lI P-., day of January, 2009.




                             WILLIAM T. MOORE, JR., CHIEF JUDGE
                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF GEORGIA
